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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

ADA YEAGER, an individual,
Plaintiff,
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THE CITY OF SEATTLE, a municipal
corporation,

Defendant.

 

 

 

 

AT SEATTLE

Case No.:

COMPLAINT FOR DAMAGES FOR
VIOLATIONS OF CIVIL RIGHTS
UNDER 42 U.S.C. § 1983

JURY DEMAND

INTRODUCTION

Plaintiff Ada Yaeger is an unhoused resident of Seattle. Since early June, she has been

living in the protest encampment located at Cal Anderson Park. Yeager and the members of her

community have been subjected to repeated harassment from the City of Seattle by way of

“sweeps” -- a coordinated destruction and taking of personal property of unhoused citizens by

Seattle Parks and Recreation and Seattle Police, two departments controlled and funded by

Defendant City of Seattle. As the COVID-19 pandemic reaches a new crisis point in Seattle,

shelters and transitional housing are all full or nearly full. Established tent encampments are the

only safe option for Plaintiff and similarly-situated community members. The protest

encampment at Cal Anderson is unique in that it not only functions as safe place for Yaeger to

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live and access resources, but it is also a platform for political organizing and expression. On
December 14, 2020, the Defendant gave fewer than 48-hours notice that they will again sweep
the Cal Anderson protest encampment, yet again causing irreparable harm to Yeager and
similarly situated people, including: warrantless seizure and destruction of personal property,
uprooting and displacing the city’s most vulnerable community, sending police to arrest and
brutalize already traumatized individuals, and chilling Constitutionally-protected expressions and
assembly, all in blatant violation of due process of law and crystal clear CDC standards for the
prevention of COVID transmission among unhoused people. Yeager seeks vindication of her
rights by restraint of Defendant’s planned sweep until it can be done in a way that is lawful and
safe.
I. PARTIES

1.1 Plaintiff Ada Yaeger (hereinafter “Plaintiff”’) is a resident of the protest
encampment located at Cal Anderson Park, in Seattle, Washington.

1.2. Defendant City of Seattle (hereinafter “Defendant City”) is a municipal
corporation organized under the laws of the State of Washington.

IL. JURISDICTION AND VENUE

2.1 This action is brought pursuant to 42 U.S.C. § 1983 for violations of Plaintiff's
constitutional rights under the First, Fourth, Fifth and Fourteenth Amendments to the United
States Constitution.

2.2. This Court has jurisdiction of these claims pursuant to 28 U.S.C §§ 1331 and

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2.3. Venue is appropriate in the U.S. District Court, Western District of Washington at
Seattle, pursuant to 28 U.S.C. § 1391 because the events giving rise to Plaintiffs claims occurred
in this district and the Defendant exists in this district.

Ill. FACTS

321 Cal Anderson park, located on Capitol Hill in Seattle, has been the site of a near-
continuous protest encampment since the George Floyd Uprising began in late May, 2020.

3.2. Plaintiff has lived at the Cal Anderson protest encampment since early June,
2020, Yeager Declaration at 1, far longer than the 14-days required to establish a Homestead
under Washington state law (RCW 6.13-.15, Washington State Constitution, Article 19).

33 The protest encampment has been a hub of political activity, forming the staging
ground for daily marches and constant political organizing. Yeager Declaration at 1-2.

3.4 Although the political messages expressed at the protest encampment are diverse,
one common political message is criticism of Defendant City’s police force and policies toward
the homeless. Eby Declaration at 1.

34 The protest encampment at Cal Anderson is also one of many places in Seattle
where unhoused people live collectively on public property in an attempt to meet survival needs,
including: shelter, food, water, sanitation, medical care, and mental health care.

3.6 The protest encampment at Cal Anderson is also a mutual aid hub where people
work collaboratively with one another to identify and meet their needs. Yeager Declaration at 2.

3.7. The only interruption to the near-continuous political activity and survival need
work occurring at the Cal Anderson protest encampment over the past five plus months were

approximately four occasions when Defendant City sent armed police officers into the

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encampment wearing riot gear to forcibly evict residents, including Plaintiff. Yeager Declaration
at 4.

3.8 Each time Defendant City forcibly evicted residents from the encampment
resulted in police violence, including the use of chemical dispersants and physical violence,
arrests, and the warrantless seizure and destruction of personal property. Yeager Declaration at 3.

3.9 Despite long ago declaring an “emergency” regarding the unmet needs of
unhoused people, Defendant City continues to fail to provide resources sufficient to shelter
Seattle’s unhoused population.

3.10 Defendant City has, instead, created “Encampment Abatement Program” (the
Program”) that wastes millions of dollars on non-housing expenditures, regularly violates the
rights of unsheltered individuals, and does nothing to solve the underlying homeless crisis.

3.11 Defendant City’s Program consists of prohibiting camping on virtually all public
property; training and using police officers to force unhoused individuals to leave public
property under the threat of arrest; destroying homeless people’s belongings in a practice
commonly known as “sweeps” or “cleanups;” fencing off public property to prevent public
access; and arresting anyone found on such property on criminal trespass charges.

3.12 The most recent “point-in-time” count was completed in January 2020 (before the
COVID public health crisis and resulting economic distress and job losses). At that time, there
were 5,523 individuals who were classified as “unsheltered.” Based on the results of that survey,
94% of those unhoused individuals would move inside if safe/affordable housing were available
and 20% have never heard back from service providers or the City after requesting services.

3.13 In response to the COVID crisis, Defendant City announced the creation of 1,893
new shelter beds for unhoused individuals (a deficit of 3,630). However, the vast majority of

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these beds were for COVID positive individuals or those recovering from COVID infections.
The total number of beds added for COVID negative individuals was 95.

3.14 Defendant City is well-aware that it does not provide enough shelter space for its
unhoused population. As it admitted, long before the exponential rise in Seattle’s unhoused
population over the past year, “City-funded shelters and sanctioned encampments are at or near

capacity...” (https://homelessness.seattle.ov/may or-durkan-announces-plan-to-increase-

 

seattles-bridge-houseing-and-shelter-capacity-by-25-to-bring-more-people-inside-and-into-safer-
places/), Before the pandemic, Defendant City’s shelter vacancy rates were less than one percent
on average.

3.15 The limited shelter space available often imposes restrictions that bar those most
in need of shelter, including those who now living in Cal Anderson park. Many have limited
hours, no right of return, no place to store belongings, do not allow couples or families to stay
together, and do not allow pets.

3.16 Many shelters require occupants to show identification cards while Defendant
City’s forced evictions frequently result in the seizure and destruction of difficult-to-replace
identification cards.

3.17 Shelters are also currently significantly reducing capacity to comply with the
Center for Disease Control’s standards for social distancing and the prevention of COVID
spread.

3.18 In March 2020, Defendant City recognized that today’s crisis was impending
when it publicly announced that suspension of “all encampment removal operations.” The

announcement stated that exceptions would be made only in “extreme circumstances.”

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(https://homelessness.seattle.gov/covid-19-response-update-on-city-efforts-to-expand-shelter-
hygiene-and-outreach-to-individuals-experiencing-homelessness/).

3.19 Without reference to “extreme circumstances,” and for untenable, arbitrary, and
capricious political calculations, the encampment at Cal Anderson has been swept multiple
times.

Past forced evictions

3.20 Plaintiff was present for and residing at Cal Anderson during each of the sweeps
occurring since the George Floyd uprising began.

3.21 Prior to each sweep, mutual aid groups and protest encampment residents were
collaborating to meet the basic needs of residents in safer and higher-functioning manner than
that available in other encampments.

3.22. After each sweep, these mutual aid services are disrupted for a period of time,
property is lost and destroyed and the community is severely disrupted.

3.23 During some sweeps, Defendant City has gone to extraordinary lengths to close
the park’s public bathrooms and the Cal Anderson Shelter House (“Shelter House”), each of
which were being put to good use providing for the basic needs of the unhoused community.
Defendant City locked and welded shut the doors and windows on the bathroom and the Shelter
House buildings, cutting off residents’ and other park users’ ability to use the bathroom or wash
their hands, in the midst of a global pandemic. Defendant City has singled out the Cal Anderson
protest encampment for this special treatment and has not taken similar actions to target and
undermine the basic needs of other encampments.

3.24 The Shelter House featured showers, stations for residents to charge phones and a

robust kitchen stocked and operated by mutual aid workers. Hot food was available at almost all

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times of day, as was bottled water for drinking. Community members donated goods and
services, including personal protective equipment to residents.

3.25 Service providers frequently provided services at the Shelter House, providing
residents had access to mental health professionals, substance abuse counseling, haircuts, and
assistance with applying for public benefits.

3.26 During past sweeps, Seattle Parks and Recreation (“Parks”) employees,
accompanied by a large contingent of Defendant City’s police forces in full riot gear, arrived at
the protest encampment with no notice whatsoever and with no warrant, ordered residents to
depart with all belongings, and after a short period of time began arresting anyone and seizing
and destroying any property found in the park.

3.27 Plaintiff watched from a distance as SPD officers slashed residents’ tents open
with knives, threw valuable personal property in the trash, ate residents’ food, and forced
residents to leave.

3.28 Arrests during these sweeps are often for “trespass” in a public park.

3.29 Though Plaintiff was able to save her tent from destruction, the sweeps took some
of her personal and community property out, including valuable food preparation equipment, a
generator, food donations, canopy tents. Plaintiffs efforts to get this property returned was
unsuccessful.

3.30 Plaintiff, who lives with many other residents of the Cal Anderson protest
encampment both before and after the September sweep, is not aware of anyone who got any
belongings back after the September week.

The impending forced eviction

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3.31 On December 2, 2020, Mayor Jenny Durkan told a local news publication that her
office was planning to “restore” Cal Anderson in the coming weeks. The mayor mentioned her
concern for renters, businesses, and property after months of “demonstrations and police and
protester clashes” at Cal Anderson park and the nearby East Precinct. The mayor said nothing
about the unmet survival needs of unhoused people living in Cal Anderson.

3.32 Upon this announcement, mutual aid organizations began moving valuable
equipment, supplies, and public-facing donation stations out of the park in order to prevent their
seizure and destruction by Defendant City in another unannounced eviction, thereby depriving
residents of important resources.

3.33. On the morning of December 14, 2020, Defendant City sent an intimidating
phalanx of police officers clad in riot gear into Cal Anderson park to post a notice. Exhibit 1
(“Notice”).

3.34 The Notice purports to be an “order” issued by Defendant City for yet another
forced eviction of Cal Anderson to occur on or after Wednesday, December 16, 2020 at 7:30
a.m. Exhibit 1.

3.35 The Notice does not include language required by due process: it does not identify
any individual whose property is subject to the order nor does it contain any information about a
process or opportunity to dispute Defendant City’s action. Exhibit 1.

3.36 The City’s procedure for forced evictions of encampments (enacted in April,
2017), indicates that such notice will be posted “no fewer than” 72 hours before any such
eviction on or at each tent or structure subject to removal, and that oral notice would be given to

all individuals present at the time notices are posted.

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3.37 Inrecent litigation, the U.S. District Court for the Western District of Washington
relied upon Defendant City’s representations to deny injunctive relief in a similar case.
Specifically, Defendant claimed to uniformly comply with “no fewer than” 72-hour advance
notice prior to any sweep. However, Defendant City failed to post any notice whatsoever for the
four previous forced evictions of the Cal Anderson protest encampment and posted the Notice
less than 48-hours before the indicated deadline.

3.38 The Notice asserts a public health and safety rationale for the impending forced

eviction:

Materials in this area are an obstruction of the intended use of this property, are
in a hazardous location or present a hazard. This is not an authorized area for
storage or shelter.

However, Defendant City’s actions toward the protest encampment have exacerbated the public
health and safety risks posed by the protest encampment. If the unhoused people living in Cal
Anderson (and parks all across Seattle) pose any public health risks, forced eviction by
Defendant City’s will only displace those risks onto other places without substantively
addressing any of the root causes of homelessness, while increasing the risks faced by the
unhoused people themselves.

3.39 Defendant City has singled out the Cal Anderson protest encampment for forced
eviction due to the content and viewpoint of political messages and organizing expressed there.
While many other encampments across Seattle obstruct “intended use of the property, are in a
hazardous location, or present a hazard,” Defendant City is only taking this extraordinary

enforcement action in the middle of a pandemic against the protest encampment at Cal

Anderson.
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3.40 Having announced her intention to not run for reelection, and presumably
preparing to depart Seattle for Washington DC to take an appointed position with the incoming
Biden administration, Defendant City’s executive, Jennifer Durkan, has publicly called the plan
to forcibly evict Cal Anderson “urgent.” Without taking action against other less-symbolically
important and less-politically active encampments around Seattle, Defendant City has
demonstrated its intent to discriminate against the Cal Anderson protest encampment based upon
its political activity and content of its speech.

3.41 The Notice also claims to provide a process for returning property seized during
the impending forced eviction. However, Defendant City’s pattern and practice during the four
previous evictions of the Cal Anderson protest encampment is not to catalog, preserve, or return
the personal property seized during such forced evictions, but rather to destroy and discard such
property with impunity.

3.42 Plaintiff has been unable to find any individual forcibly evicted from Cal
Anderson (or anywhere else) in 2020 (or at any other time) who has had any piece of personal
property returned by Defendant City.

3.43 According to the City’s website, the warehouse location where the confiscated
belongings will be taken is “temporarily closed,” likely due to the COVID crisis.

3.44 The on-going COVID-19 pandemic has made all of these consequences of
Defendant City’s determined course of action more dangerous and irrational.

3.45 The impending forced eviction is contrary to CDC guidance, which states:

Lf individual housing options are not available, allow people who are living
unsheltered or in encampments to remain where they are. Clearing
encampments can cause people to disperse throughout the community and break

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connections with service providers. This increases the potential for infectious
disease spread.

Ensure nearby restroom facilities have functional water taps, are stocked with
hand hygiene materials (soap, drying materials) and bath tissue, and remain
open to people experiencing homelessness 24 hours per day.

If toilets or handwashing facilities are not available nearby, assist with
providing access to portable latrines with handwashing facilities for
encampments of more than 10 people. These facilities should be equipped with
hand sanitizer (containing at least 60% alcohol).

EXHIBIT CDC GUIDANCE. The City has not provided portable latrines to replace the
facilities that it took away from the protest encampment residents.

3.46 Rather than comply with these national standards promulgated by public health
experts at the CDC, Defendant City has repeatedly and intentionally violated it.

3.47 Forcible eviction of the protest encampment at Cal Anderson will cause
irreparable harm to Plaintiff and other similarly situated persons, including the chilling of
political speech, destruction of personal property, loss of access to survival resources, disruption

of assembly, increased danger of exposure to COVID-19, and other consequences.

IV. CLAIMS
4.1 Statements of fact in paragraphs 3.1—3.47 above are hereby re-incorporated as if
fully stated herein for purposes of each claim below.

FIRST CAUSE OF ACTION
(Federal Law Claim — Violation 42 U.S.C. § 1983)

4.2 By virtue of the facts set forth above, Defendant City is liable to Plaintiff for
compensatory and punitive damages for a pattern or practice that foreseeably caused a

deprivation of Plaintiff's civil right to be free from threats of retaliation and unlawful eviction for

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the expression of protected speech and assembly, as guaranteed by the First and Fourteenth
Amendments to the Constitution and U.S.C. § 1983.

SECOND CAUSE OF ACTION
(Federal Law Claim — Violation 42 U.S.C. § 1983)

43 By virtue of the facts set forth above, Defendant City is liable to Plaintiff for
compensatory and punitive damages for a pattern or practice that foreseeably caused a
deprivation of Plaintiff's civil right to be free from unreasonable search and seizure of person
and property, as guaranteed by the Fourth and Fourteenth Amendments to the Constitution and
U.S.C. § 1983.

THIRD CAUSE OF ACTION
(Federal Law Claim — Violation 42 U.S.C. § 1983)

4.4 By virtue of the facts set forth above, Defendant City is liable to Plaintiff for
compensatory and punitive damages for a pattern or practice that foreseeably caused a
deprivation of Plaintiff's civil right to be free from the taking of private property without just
compensation and due process of law, as guaranteed by the Fifth and Fourteenth Amendments to
the Constitution and U.S.C. § 1983.

V. REQUEST FOR RELIEF
WHEREFORE, Plaintiff requests relief against Defendants as follows:

Sal Temporary and preliminary injunctive relief from the threat of action on the
Notice (Exhibit 1) or any other substantially similar attempt by Defendants to forcibly evict

Plaintiff and the protest encampment from the park at least until the CDC rescinds its guidance;

5.2. General and special damages; including pain and suffering and compensation for

wrongful incarceration pursuant to 42 U.S.C. §§ 1983 and 1988 and any applicable Washington

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5.3 Plaintiffs reasonable attorney’s fees and costs, under 42 U.S.C. § 1988 and to the

extent otherwise permitted by law; and

5.4 Such other relief as the Court may deem just and equitable.

DATED this 16" day of December, 2020.

MAZZONE LAW FIRM, PLLC
Attorney for Plaintiff

By: s/Braden Pence

Braden Pence, WSBA #43495
bradenp@mazzonelaw.com
3002 Colby Ave., Ste. 302
Everett, WA 98201

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CERTIFICATE OF SERVICE
I hereby certify that on the December 16, 2020, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system which will send notification of such filing to the
attorney(s) and persons of record. I hereby certify that I have served all non CM/ECF

participants via United States Postal Service.

s/ Elizabeth Crafton

Elizabeth Crafton

Paralegal

Mazzone Law Firm, PLLC
3002Colby Avenue, Suite 302
Everett, WA 98201
425-259-4989 (voice)
425-259-5994 (fax)

lize@mazzonelaw.com

 

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EXHIBIT 1
    
   
  
   
  
   

  
 

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DATE of NO}

Gi City of Seattle
NOTICGE/AVISO

ORDER TO REMOVE ALL PERSONAL PROPERTY
ORDEN DE RETIRAR TODOS LOS BIENES PERSONALES

AS OF/ DESDE TIME/ HORA LOCATION/ UBICACION

pier 20 7:30 am ce Anderson Park

 

 

 

 

 

 

 

 

 

 

Materials in this area are an Britccion of the intended use of this property, are
in a hazardous location or pres ta hazard. This is not an authorized area for
storage or shelter. Any materials left here will be removed by the City on or after
the date and time posted above, and belongings found by the City and
authorized for storage will be kept for 70 days at no charge. / Los materiales en

esta zona son un obstaculo” él Uso previsto de esta propiedad, estan en un lugar

 

 

  
  
    
   

 

206-459-9949

 

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ed belongings to you. Belongings are stored at: 3807 2" Ave S/ La
p rtenencias almacenadas, Las pertenencias se almacenan en: 3807 2" Ave 5.

 

 

 

UTREACH AND HOUSING SUPPORT CALL:

lencia sobre contactos con la comunidad y sobre la vivienda, llame al:

| 211 or 206-461-3222

qraniat

 

 

 
